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                                   6                                  UNITED STATES DISTRICT COURT

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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                  10    ANDREA BARTZ, ANDREA BARTZ
                                        INC., CHARLES GRAEBER, KIRK                           No. C 24-05417 WHA
                                  11    WALLACE JOHNSON, and MJ + KJ INC.,
                                  12                   Plaintiffs,
Northern District of California




                                                                                              ORDER ON CLASS
 United States District Court




                                  13            v.                                            CERTIFICATION
                                  14    ANTHROPIC PBC,
                                  15                   Defendant.

                                  16

                                  17

                                  18                                           INTRODUCTION

                                  19         This civil action exemplifies the classic litigation that should be certified as a

                                  20    representative action, for the entire class stands aggrieved by defendant’s downloading of their

                                  21    books from pirate libraries on the internet. It will be straightforward to prove the classwide

                                  22    wrong done. In short order, counsel can prove defendant violated the Copyright Act by doing

                                  23    Napster-style downloading of millions of works. Defendant, however, objects that it will be a

                                  24    litigation nightmare to determine the specific works it downloaded and, as to each, who is the

                                  25    rightful victim of the infringement.

                                  26                                             STATEMENT

                                  27         At issue on class certification is whether it will be so impractical to identify the millions

                                  28    of books downloaded by defendant Anthropic PBC from pirate libraries — let alone to match
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                                   1       them to the authors, publishers, and the like who own the copyrights in them — that class

                                   2       certification should be denied.

                                   3            1.      THE PIRATED BOOKS.
                                   4            In early 2021, a co-founder of Anthropic downloaded 196,640 unauthorized copies of

                                   5       copyrighted books from the pirate library known as Books3. This library conveniently

                                   6       packaged for mass download pairs of each book’s extracted text and filename, enabling the

                                   7       books to be readily rebuilt into separate files or reviewed (see Opp. Expert Iyyer ¶¶ 20–21, 23–

                                   8       24, 27 n.10, 39).1 The pirate behind Books3 publicly downplayed any “copyright backlash”

                                   9       from these efforts (see Amd. Compl. ¶ 40). Anthropic’s co-founder downloaded the pirated

                                  10       books to avoid the trouble of paying for them, hoping they might prove useful for training

                                  11       large language models (LLMs) or for something else.

                                  12            Later that year, Anthropic wanted still more. But centralized pirate libraries were being
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                                  13       shut down by the government. So, in June 2021, Anthropic’s co-founder used the infamous

                                  14       BitTorrent protocol to copy books peer-to-peer from decentralized copies of another pirate

                                  15       library — Library Genesis, or LibGen (see ¶ 45). He set a computer program to pause

                                  16       torrenting if disk space got “exhausted” (Br. Exh. 19 at -0389775). These five million copies

                                  17       again came from ebooks, this time remaining in file types like .epub and .pdf to be “viewed as

                                  18       eBooks.” They generally had covers including title and authors (see ¶¶ 45, 51 n.25, 60).

                                  19            As pirate libraries were still being shuttered, third parties online copied LibGen and

                                  20       improved upon it to create a new pirate library, simply called “Z-Library.” The FBI shut down

                                  21       Z-Library, too (Br. Exh. 38). But by then, Z-Library had itself been copied or “mirrored” to

                                  22       create the Pirate Library Mirror, or PiLiMi. When Anthropic’s co-founder saw PiLiMi was

                                  23       ready for torrenting, he messaged Anthropic coworkers: “[J]ust in time!” One answered:

                                  24       “zlibrary my beloved” (Br. Exh. 20 at -0391318).

                                  25            So, in July 2022, Anthropic torrented at least two million copies of pirated books from

                                  26       distributed copies of PiLiMi. These copies were similarly of .epub, .pdf, and .txt files of digital

                                  27
                                       1
                                  28      All citations to paragraphs in this order are from the declaration of Anthropic’s Expert Mohit
                                       Iyyer, unless noted.
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                                   1    books (¶ 46). Because LibGen and PiLiMi had a common lineage, they had many books in

                                   2    common, too. Appreciating this overlap, about one month before this download, Anthropic

                                   3    engineers had compared Anthropic’s five million copies torrented from LibGen against

                                   4    PiLiMi’s seven million copies available to torrent, and torrented only the two million copies

                                   5    “that [we]re not in Lib[G]en,” as the co-founder explained (Br. Exh. 20 at -0391318).

                                   6         Plaintiffs thus allege that up to seven million copies of books were stolen by Anthropic in

                                   7    this Napster-like way from all three pirate libraries. Although neither side has systematically

                                   8    tallied the overlap in the books copied from each pirate library, all agree there remains obvious

                                   9    overlap at least in popular titles obtained from each (see Br. 9; Opp. 23 (estimating damages

                                  10    from five million unique works); Reply 6 n.8; ¶¶ 93–102 & n.35–38 (explaining that 65, 70,

                                  11    and 78 of 82 popularly listed titles tested appeared in each set)). Anthropic retained all these

                                  12    copies of pirated books in a central library or general data area “forever” (see, e.g., Br. Exh. 12
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                                  13    at -0144509).

                                  14         Starting in 2024, instead of pirating more books, Anthropic purchased and scanned

                                  15    books. To do so, Anthropic’s chief executive officer and head of training first discussed the

                                  16    “cost to buy all the books in [L]ib[G]en” and the “probability for any given item we can buy it”

                                  17    (Reply Exh. 43 at -0227005). Then its purchasers populated a database with complete

                                  18    metadata for books the company wished to but had not yet purchased (Reply Exh. 45 at -

                                  19    0365971).

                                  20         2.      THE MEANS TO IDENTIFY BOOKS.
                                  21         Anthropic itself needed to identify the works it copied. It did so using common metadata

                                  22    and methods including hashing. There were several reasons:

                                  23         First, early on, Anthropic realized it had pirated multiple copies of some books into its

                                  24    central library and that using multiple copies of one text to train an LLM caused the model to

                                  25    memorize the text and perform less well. Second, Anthropic held in its central library

                                  26    everything from textbooks to trade fiction. It wanted to understand how the breadth and depth

                                  27    of categories selected for recopying to train LLMs affected performance, if at all. Third, other

                                  28    parties sometimes asked Anthropic to remove “discrete corpora” of books (see Br. Exh. 1 at 7–
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                                   1    8; see also Br. Expert Zhao ¶ 72). Fourth, Anthropic was concerned that its completed AI

                                   2    service would regurgitate copyrighted training content, so Anthropic needed to match its

                                   3    LLMs’ output against known works and bar such output (Reply Exh. 46 at -0533421). Fifth,

                                   4    once Anthropic stopped using pirate-sourced copies of books to train LLMs, its models

                                   5    suffered a “performance hit.” It wanted to “recover” from this by finding books at least as

                                   6    good as the “old-books quality,” meaning the pirated ones (see MSJ Opp. Exh. 20 at -

                                   7    0391439). This prompted an effort to identify books to purchase (but purchase only once) (see

                                   8    also Br. Exh. 12 at -0144507 (“deduping”); Reply Exh. 45 at -0365971). And, sometimes its

                                   9    researchers “want[ed] to search for a book” (Reply Exh. 45 at -0365941).

                                  10         So, Anthropic obtained catalogs of metadata corresponding to the books it torrented from

                                  11    LibGen and PiLiMi, and some metadata for Books3. In the catalogs — as Anthropic’s co-

                                  12    founder pointed out to colleagues when reviewing one — were ISBNs (Br. Exh. 19 at -
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                                  13    0389774). An ISBN is an Industry Standard Book Number for published books issued by a

                                  14    private organization since 1970. It can be included on copyright registrations. Each ISBN is a

                                  15    string of numbers — having substrings defined to flag each book’s language, region, publisher,

                                  16    and unique title (at the edition level). Anthropic used ISBNs to identify books quickly and to

                                  17    unpack from them “intelligence about editions and languages” (Reply Exh. 45 at -0366000).

                                  18    Similarly, an ASIN, or Amazon Standard Identification Number, is issued by the online retailer

                                  19    to identify any item sold there, including ebooks or self-published books. Anthropic’s

                                  20    metadata sometimes used ASIN. A hash value is another critical piece of metadata contained

                                  21    in those catalogs. Anthropic used hash values, too.

                                  22         In hashing, a user starts with a source input: either a raw file, the text extracted from that

                                  23    file, a paragraph of any text, or so on. This source input is passed through a hash function or

                                  24    algorithm to produce a unique hash value, or short alphanumeric signature, which can be used

                                  25    directly or saved for later in a database alongside information known about that input. This

                                  26    can be repeated for many source inputs. Then, a test input is passed through the same

                                  27    algorithm. If its resulting hash matches one of the source hashes, then the test input matches

                                  28    that source input. The algorithm’s threshold for a match can be adjusted to recognize perfect
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                                   1       matches or to tolerate fuzzy ones. The hash function is sensitive to differences in the content,

                                   2       but also sensitive to differences in formatting or file-type to the extent those are passed through

                                   3       without normalization — all are just ones and zeroes to it. Finally, such algorithms can be

                                   4       complemented by other programming to do things in sequence and at scale, such as proceeding

                                   5       file by file, extracting and normalizing text from each file to divide into many sub-inputs to

                                   6       hash separately, and comparing each file’s resulting set of hashes alone and in combination

                                   7       against those of other files, and so on (Br. Expert Zhao ¶¶ 53–67; e.g., Br. Exh. 3 at 4).

                                   8                                          *            *               *

                                   9             In our litigation, both sides used methods like those above to identify works by named

                                  10       plaintiffs that Anthropic had downloaded from pirate libraries. Their ISBNs were furthermore

                                  11       used to find certificates of copyright registration, and thereby to identify relevant plaintiffs as

                                  12       at least beneficial owners of the exclusive right to copy books at issue — a process plaintiffs
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                                  13       propose can be followed for all class members.

                                  14
                                                3.      THE MEANS TO IDENTIFY COPYRIGHT REGISTRATIONS,
                                  15                    PRESUMPTIVE RIGHTSHOLDERS, AND TRANSFERS.

                                  16             Plaintiffs must further show, in brief, that they either own the copyrights in their works

                                  17       outright, or else exchanged the exclusive right to reproduce copies of their book for royalties in

                                  18       return. Our named plaintiffs are three writers and two so-called “loan-out” companies used for

                                  19       marketing books — one of those loan-outs being fully owned by one writer, the other co-

                                  20       owned by another and his spouse (“Writers” and “Loan-Outs”). This order finds that all

                                  21       except Author Bartz and Author Johnson are at least beneficial owners of books stolen from

                                  22       the two websites.2 Only works in the pirate-sourced books are discussed here. Note well that

                                  23
                                       2
                                  24       From Books3, Anthropic downloaded works by our writers (with at least beneficial owners):
                                             Andrea Bartz’s The Lost Night (Andrea Bartz, Inc.);
                                  25         Charles Graeber’s The Good Nurse and The Breakthrough (Charles Graeber); and,
                                             Kirk Wallace Johnson’s To Be A Friend Is Fatal and The Feather Thief (MJ + KJ, Inc.).
                                  26       From LibGen, Anthropic torrented:
                                              Andrea Bartz’s The Lost Night and The Herd (Andrea Bartz, Inc.);
                                  27          Charles Graeber’s The Good Nurse (two) and The Breakthrough (Charles Graeber); and,
                                              Kirk Wallace Johnson’s The Feather Thief (MJ + KJ, Inc.).
                                  28       From PiLiMi, Anthropic torrented:
                                              Andrea Bartz’s The Lost Night and The Herd (Andrea Bartz, Inc.);
                                                                                     5
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                                   1    an author starts with the legal title to the entire copyright (or else his employer), and if in

                                   2    exchange for royalties he transfers the legal title to the copyright or to the exclusive right to

                                   3    make copies he nevertheless remains the beneficial owner of that right.

                                   4                 A.      WRITER CHARLES GRAEBER.
                                   5          Writer Charles Graeber penned two non-fiction books at issue: The Good Nurse: A True

                                   6    Story of Medicine, Madness, and Murder, and The Breakthrough: Immunotherapy and the

                                   7    Race to Cure Cancer.

                                   8          Certificates of registration from the United States Copyright Office show the works were

                                   9    registered effective as of 2013 and 2018, the same years first published. (Anthropic’s

                                  10    downloading began in 2021.) Each named Writer Graeber as “Author” and “Claimant” (the

                                  11    latter meaning the holder of legal title in the entire copyright at registration), while various

                                  12    agreements were separately recorded (Opp. Exhs. 15–16 (certs.); Br. Expert Zhao ¶ 66
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                                  13    (downloads); MSJ Opp. Exh. 6 at 4 (download dates)).

                                  14          Respecting The Good Nurse, in 2007, a publisher agreed to pay royalties to Writer

                                  15    Graeber in exchange for the “exclusive” “right to reproduce” the work in English including in

                                  16    “print, audio, and electronic” formats (Opp. Exh. 17 at -0207). The parties agreed as to how to

                                  17    prosecute infringement (id. at -0216). New York law governed (id. at -0219). Respecting The

                                  18    Breakthrough, substantially similar terms were agreed (Opp. Exh. 18).

                                  19          Also respecting The Good Nurse, film production companies purchased successive

                                  20    options dated in 2013, 2017, and 2019. Each was a period during which its holder could, if

                                  21    milestones were met along the way to making a film, exercise the option to then obtain certain

                                  22    exclusive rights in exchange for additional compensation and royalties to the author (e.g.,

                                  23    Opp. Exh. 22 at -04661, -04666, -04667). Our parties treat the last as having been exercised

                                  24    (cf. Opp. Exh. 19 at 155–56; Opp. Exh. 22 at -04623 ¶ 2). Writer Graeber reserved any rights

                                  25    he held “to publish and distribute in all languages throughout the world printed versions” of the

                                  26

                                  27
                                            Charles Graeber’s The Breakthrough (Charles Graeber); and,
                                  28        Kirk Wallace Johnson’s The Feather Thief (two copies) (MJ + KJ, Inc.).
                                       Other books were identified in scanned but not pirated books (Br. Expert Zhao ¶¶ 66, 68).
                                                                                       6
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                                   1    book “whether hardcover or softcover” or “electronic or digital” (Opp. Exh. 22 at -04653).

                                   2    California law governed. (A term for royalties is purportedly defined in an attachment not in

                                   3    our record, if ever attached; this order need not parse that issue because the agreement did not

                                   4    purport to transfer the relevant rights.)

                                   5          Again respecting The Good Nurse, Author Graeber’s solely owned loan-out, Having &

                                   6    Selling LLC, granted other publishers rights to prepare translations and publish the results

                                   7    (Opp. Exh. 20 (Italian); Opp. Exh. 21 (Czech); Opp. Exh. 19 at 164; Reply Graeber ¶ 3).

                                   8          Writer Graeber is a named plaintiff; his loan-out is not.

                                   9
                                                      B.     WRITER KIRK WALLACE JOHNSON AND LOAN-OUT MJ + KJ
                                  10                         INC.

                                  11          Writer Kirk Wallace Johnson put two non-fiction titles at issue: To Be A Friend Is Fatal:

                                  12    The Fight to Save the Iraqis America Left Behind, and The Feather Thief: Beauty, Obsession,
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                                  13    and the Natural History Heist of the Century. Loan-Out MJ + KJ, Inc. is co-owned by him and

                                  14    his spouse.

                                  15          Copyright certificates show the works were registered effective as of 2013 and 2018, the

                                  16    same years as first published. On the first, Writer Johnson was named author and claimant.

                                  17    On the second, Loan-Out MJ + KJ was named author and claimant, and stating Writer Johnson

                                  18    had worked for hire. Other agreements were recorded (see Opp. Exhs. 23, 25 (certs.);

                                  19    Br. Expert Zhao ¶ 66 (downloads); MSJ Opp. Exh. 6 at 4 (download dates)).

                                  20          Respecting To Be A Friend Is Fatal, in 2012, a publisher agreed to pay royalties to Writer

                                  21    Johnson in exchange for “the exclusive right to publish the Work” worldwide including in

                                  22    “electronic text” (Opp. Exh. 30 at -04875–76, -04895–96). They agreed as to how to prosecute

                                  23    infringement (id. at -04895). New York law governed (id. at -04898).

                                  24          Respecting The Feather Thief, in 2015, another publisher agreed to pay royalties to Loan-

                                  25    Out MJ + KJ in exchange for the “exclusive right to print, publish, and sell the Work”

                                  26    including in electronic copies (Opp. Exh. 31 at -05520–21; see id. at -05524–25, -05529). The

                                  27    agreement bound the parties to “transfer and permit the recordation of such copyright

                                  28    ownership [if needed to] permit [one or the other] to bring [an infringement] action in his own
                                                                                        7
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                                   1    or its own name” (id. at -05526). New York law again governed (id. at -05528).

                                   2          Respecting The Feather Thief, Loan-Out MJ + KJ granted a movie studio an option to

                                   3    buy “all right[s] . . . other than the reserved rights,” those reserved rights including for

                                   4    “[p]ublishing” including in “e-read” formats (Opp. Exh. 33 at -088, -090).

                                   5          In an agreement recorded at the Copyright Office this year, Writer Johnson assigned his

                                   6    copyright interests in To Be A Friend Is Fatal to Loan-Out MJ + KJ (see Opp. Exh. 34;

                                   7    Br. Exh. 30 at -04708).

                                   8          Writer Johnson and Loan-Out MJ + KJ are named plaintiffs (the spouse is not).

                                   9
                                                     C.      WRITER ANDREA BARTZ AND LOAN-OUT ANDREA BARTZ
                                  10                         INC.

                                  11          Writer Andrea Bartz penned two novels at issue: The Lost Night: A Novel, and The Herd.

                                  12    Loan-Out Andrea Bartz, Inc. is fully owned by her.
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                                  13          Copyright certificates show the works were registered effective as of 2019 and 2020, the

                                  14    same years published. Each named Writer Bartz as author and Loan-Out Bartz as claimant,

                                  15    with further agreements recorded (Opp. Exhs. 1, 4).

                                  16          Respecting The Lost Night, in 2017, a publisher agreed to pay royalties to Loan-Out

                                  17    Bartz in exchange for “the right to publish . . . any and all editions and/or formats of the

                                  18    Work” — “[e]xclusively” (Opp. Exh. 7 at -05290; see id. at -05297 (ebooks)). The parties

                                  19    agreed as to how to prosecute infringement (id. at -05294). New York law governed (id. at -

                                  20    05303). Respecting The Herd, in 2018, Loan-Out Bartz entered a substantially similar

                                  21    agreement with the same publisher (Opp. Exh. 5).

                                  22         For both books, companies purchased options to buy further rights. If exercised, the

                                  23    portion of one agreement in our record states that Loan-Out Bartz was to receive royalties and

                                  24    reserve “print and audio publication rights” (Opp. Exh. 10 at -023). The options for both were

                                  25    returned unexercised (MSJ Br. Exh. 2, Writer Bartz Dep. Tr. 180–81).

                                  26          Recently, Writer Bartz agreed to transfer to Loan-Out Bartz any residual rights she held

                                  27    in these works (Opp. Exh. 14). Writer Bartz and Loan-Out Bartz are named plaintiffs.

                                  28
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                                   1                                      *             *               *
                                   2          In August 2024, Writers brought this putative class action complaining that Anthropic

                                   3    had infringed their federal copyrights by amassing copyrighted books from the internet without

                                   4    paying even for the first copy, and further by not obtaining licenses to reproduce further copies

                                   5    for LLM training (Compl. ¶¶ 1–3, 64, 67; see Amd. Compl. ¶¶ 1–3, 68, 71). In December

                                   6    2024, they amended their complaint to include the Loan-Outs.

                                   7         4.      THIS MOTION AND SUMMARY OF CLASS CERTIFICATION.
                                   8          Now, plaintiffs move to certify classes of copyright owners in a “Pirated Books Class”

                                   9    and in a “Scanned Books Class.” For the former, they propose two alternatives: The Books3

                                  10    Pirated Books Class and the LibGen & PiLiMi Pirated Books Class (Br. 1–2).

                                  11          Named plaintiffs bear the burden of affirmatively demonstrating their compliance with

                                  12    Rule 23. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). The district court may
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                                  13    exercise its discretion to modify a class definition under Rule 23(c). See Gen. Tel. Co. of

                                  14    Sw. v. Falcon, 457 U.S. 147, 160 (1982). For the same reason, modifying a subclass — even

                                  15    creating one — is “within the district court’s broad power under [the rules] to adopt procedural

                                  16    innovations to facilitate management of the class action.” Am. Timber & Trading Co. v. First

                                  17    Nat’l Bank of Oregon, 690 F.2d 781, 786–87 (9th Cir. 1982). To the extent certification turns

                                  18    on expert methods, those methods are subject to a “limited” Daubert review. Lytle v.

                                  19    Nutramax Lab’ys, Inc., 114 F.4th 1011, 1025, 1031 (9th Cir. 2024). And, because it is “in the

                                  20    best position to consider the most fair and efficient procedure for conducting any given

                                  21    litigation,” the district court finally exercises discretion “in weighing the correct mix of

                                  22    factors” to make its decision. Bateman v. Am. Multi-Cinema, Inc., 623 F.3d 708, 712 (9th Cir.

                                  23    2010) (quotation omitted) (vacating denial of certification). A decision to certify the class

                                  24    commands “noticeably more deference” than a denial. Abdullah v. U.S. Sec. Assocs., Inc., 731

                                  25    F.3d 952, 956 (9th Cir. 2013) (quotation omitted).

                                  26          This order certifies only a LibGen & PiLiMi Pirated Books Class. This class is limited to

                                  27    actual or beneficial owners of timely registered copyrights in ISBN/ASIN-bearing books

                                  28    downloaded by Anthropic from these two pirate libraries. And, it is further limited to actual or
                                                                                         9
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                                   1     beneficial owners of the copyright interest under Section 106(1), i.e., the right to make

                                   2     reproductions. The class is not limited to authors or author-like entities, however. A key point

                                   3     is to cover everyone who owns the specific copyright interest in play, the right to make copies,

                                   4     either as the actual or as the beneficial owner.

                                   5          A rigorous notice process will be required. Notice will be by first-class mail and email to

                                   6     the author, publisher, and copyright owner listed on the copyright certificate for each work

                                   7     recorded. Notice will also be sent by first-class mail and email to all trade and university

                                   8     publishers in the United States. Notice will also be published at least once in a trade journal.

                                   9     And, as a step in the claims process, notice also will be served by the class claimant himself on

                                  10     all others he attests may claim a copyright interest in the work to notify them that he is

                                  11     claiming it — including all those with whom he has contracted concerning the copyright and/or

                                  12     publishing. If disputes arise over ownership, which will be unlikely, the district court or as
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                                  13     needed a jury will resolve them. There will only be one recovery, if any, per single work.

                                  14          This order denies certification for a Books3 Pirated Books Class. The books downloaded

                                  15     as part of Books3 came with fewer fields of metadata, less routinely complete files of content,

                                  16     and as a result the identification of titles and authors would be too problematic. This order also

                                  17     denies certification for a Scanned Books Class.

                                  18          Finally, it does not escape notice that some copyrighted works were copied more than

                                  19     once from across the various sources. Recovery of statutory damages under the Copyright Act

                                  20     is limited to the statutory maximum per work in a given infringement action. As a result, a

                                  21     copyright owner whose work was copied from LibGen and from PiLiMi will be allowed but

                                  22     one recovery.

                                  23                                                ANALYSIS

                                  24          “Under Rule 23, a class action may be maintained if the four prerequisites of Rule 23(a)

                                  25     are met, and the action meets one of the three kinds of actions listed in Rule 23(b).” Van v.

                                  26     LLR, Inc., 61 F.4th 1053, 1062 (9th Cir. 2023).

                                  27          The following class definition will be approved:

                                  28
                                                                                            10
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                                   1                  All beneficial or legal copyright owners of the exclusive right to
                                                      reproduce copies of any book in the versions of LibGen or PiLiMi
                                   2                  downloaded by Anthropic. “Book” refers to any work possessing
                                                      an ISBN or ASIN which was registered with the United States
                                   3                  Copyright Office within five years of the work’s publication and
                                                      which was registered with the United States Copyright Office
                                   4                  before being downloaded by Anthropic, or within three months of
                                                      publication. Excluded are the directors, officers and employees of
                                   5                  Anthropic, personnel of federal agencies, and district court
                                                      personnel.
                                   6

                                   7          1.      CRITERIA UNDER RULE 23(a).
                                   8          Under Rule 23(a), the court must find a proposed class meets (1) numerosity,

                                   9     (2) commonality, (3) typicality, and (4) adequacy as to class representatives and counsel.

                                  10     Here, Anthropic does not contest numerosity or typicality, and treats commonality later within

                                  11     predominance. But Anthropic does not concede adequacy of class representatives (Opp. 23).

                                  12                  A.      ADEQUACY OF CLASS REPRESENTATIVES.
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                                  13                          (i)    Conflict with Owners of Other Copyrights?
                                  14          Anthropic first contends author- and author-affiliated entities do not adequately represent

                                  15     owners of other copyrights because “academics, researchers, and writers who use [LLMs]

                                  16     disagree with the position taken by plaintiffs and actively use and benefit from LLMs like

                                  17     Claude” (Opp. 2). This is unpersuasive. Whoever would like Anthropic to take their books for

                                  18     free can achieve that result even if the remaining class prevails: They can opt out and license

                                  19     their works to Anthropic or to all the world for nothing. E.g., Effects Assocs., Inc. v. Cohen,

                                  20     908 F.2d 555, 559 (9th Cir. 1990) (individual); see also Matamoros v. Starbucks Corp., 699

                                  21     F.3d 129, 138–39 (1st Cir. 2012) (class).

                                  22          And, because the class is limited to those whose books were timely registered, all are

                                  23     entitled to receive statutory damages. There is no conflict between one cohort with that choice

                                  24     and another confined to actual damages — and if one class member thinks her compensable

                                  25     loss is uniquely compelling, she can opt out. See In re Literary Works in Elec. Databases

                                  26     Copyright Litig., 654 F.3d 242, 254–55 & n.6 (2d Cir. 2011).

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                                   1
                                                              (ii)   Conflict with Co-Owners or Rightful Claimants of
                                   2                                 the Same Works?

                                   3          Anthropic also suggests conflicts may emerge between beneficial owners and legal

                                   4     owners, or among co-owners, with beneficial owners better represented by named plaintiffs. A

                                   5     beneficial owner of the right to make copies is someone like an author who receives royalties

                                   6     from any publisher’s revenues or recoveries from the right to make copies. Yes, the legal

                                   7     owner might be the publisher but the author has a definite stake in the royalties, so the author

                                   8     has standing to sue. And, each stands to benefit from the copyright enforcement at the core of

                                   9     our case however they then divide the benefit. Also, given the terms on which certification is

                                  10     granted herein, there is no risk of double jeopardy of defendant because there will be only one

                                  11     recovery per work. See, e.g., EMI Christian Music Grp., Inc. v. MP3tunes, LLC, 844 F.3d 79,

                                  12     94–95 (2d Cir. 2016). Therefore, the class definition will bind both the legal and beneficial
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                                  13     owners of the pirated books.

                                  14          It is theoretically possible that a dispute could arise, as Anthropic posits, as to the true

                                  15     copyright owner(s) entitled to recover. For example, an author might claim the entire award

                                  16     only to have the publisher claim separately that it should have received it (and possibly sue

                                  17     Anthropic all over again). In the judgment and experience of the district judge, this is unlikely

                                  18     to occur except in the rarest of instances. This is because authors and publishers are in

                                  19     business together and will work out the best way to recover.

                                  20          But if a dispute does occur as a part of our action, the following procedures will prevent

                                  21     it from becoming a problem. First, publishers and the book world at large will receive a class

                                  22     notice. That circular will put them on notice of the claims and let them know that all owners of

                                  23     the right to make copies will be bound. Second, all class claimants in the claims process will

                                  24     be required to serve notice that they are claiming the award to all others associated with the

                                  25     book. For example, an author would be required to serve notice to the publisher that the author

                                  26     has submitted his claim, so that the publisher will have an opportunity to claim a share from

                                  27     him, or else to submit a competing claim in our action, in which case the district judge or a jury

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                                   1     will decide ownership. Third, in the very unlikely event such ruinous conflicts become

                                   2     overwhelming, the district court can decertify the class.

                                   3                          (iii)   Are Named Plaintiffs Legal or Beneficial Owners?
                                   4           Anthropic also argues that Writer Bartz and Writer Johnson are inadequate

                                   5     representatives for any class: Neither is a legal owner of any copyrighted work at issue (they

                                   6     have no exclusive rights). And, neither is a beneficial owner (as during this litigation they

                                   7     transferred any and all their interests to their loan-out corporations and not in exchange for

                                   8     royalties) (Opp. 13–15).

                                   9           This order agrees neither is a legal owner. It is a closer question whether either is a

                                  10     beneficial one. Our court of appeals has called the author who grants exclusive rights in

                                  11     exchange for royalties the “classic example” — but has expressly left the door ajar to others.

                                  12     DRK Photo v. McGraw-Hill Glob. Educ. Holdings, LLC, 870 F.3d 978, 988 (9th Cir. 2017).
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                                  13     At bottom, beneficial ownership is a “standing doctrine” to enable suit. BMI v. Hirsch, 104

                                  14     F.3d 1163, 1166 (9th Cir. 1997); Yount v. Acuff Rose-Opryland, 103 F.3d 830, 834 (9th Cir.

                                  15     1996). And, the author who transfers her copyright to her loan-out still stands to benefit from

                                  16     the exclusive right by dividends or enhanced valuation. Indeed, the same would be true even if

                                  17     her corporation were itself receiving only royalties. For reasons like these, other district courts

                                  18     have held such authors to be beneficial owners. See Drake v. Malouf, No. 99-CV-0315-G,

                                  19     1999 WL 1007642, at *4 (N.D. Tex. 1999) (Judge Joe Fish); cf. Wildlife Internationale, Inc. v.

                                  20     Clements, 591 F. Supp. 1542, 1546 (S.D. Ohio 1984) (Judge Carl Rubin). But see Roberts v.

                                  21     Gordy, 359 F. Supp. 3d 1231, 1249 (S.D. Fla. 2019) (Judge Kathleen Williams) (declining to

                                  22     follow).

                                  23           But there is no reason to follow those courts, because this problem is readily resolved

                                  24     regardless. If the author controls the loan-out, she can bring the suit in its name, or effect a

                                  25     transfer from one hand to the other hand by “at anytime simply memorializ[ing] that intent in

                                  26     writing.” Jules Jordan Video, Inc. v. 144942 Canada Inc., 617 F.3d 1146, 1156 (9th Cir.

                                  27     2010). And, for the same reason, defendant can hardly complain of any purported defects as

                                  28     between an author and that author’s loan-out in the first place: Where one of them plainly has
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                                   1     standing, and there is no disagreement as between the two, “it would be unusual and

                                   2     unwarranted to permit a third-party infringer to invoke [the written transfers requirement] to

                                   3     avoid suit for copyright infringement.” See id. at 1157 (cleaned up).

                                   4           Because Writer Bartz and Writer Johnson have made the choice to transfer all rights to

                                   5     their loan-outs, they are no longer adequate class representatives. But this situation

                                   6     nevertheless shows why ambiguities between authors and loan-outs will not metastasize.

                                   7           Loan-Out Bartz and Loan-Out MJ + KJ are on our record adequate representatives.

                                   8     Loan-Out Bartz is the registered claimant of the books penned by Writer Bartz. In exchange

                                   9     for royalties, Loan-Out Bartz granted an exclusive license to reproduce copies. Yes,

                                  10     production companies bought options. But they returned them unexercised. Much the same is

                                  11     true as to Loan-Out MJ + KJ. Specifically as to The Feather Thief, Writer Johnson prepared

                                  12     the work for hire for Loan-Out MJ + KJ, which then granted an exclusive license to reproduce
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                                  13     copies in exchange for royalties. Separate film options did not purport to transfer those rights a

                                  14     second time.

                                  15           As for our other named plaintiff, Author Graeber was himself the registered claimant and

                                  16     granted an exclusive license to reproduce copies of his books at issue in exchange for royalties.

                                  17     Yes, he transferred some rights to a filmmaker, but the agreement expressly did not transfer

                                  18     any rights to publish his book — consistent with the above. Nor are rights to prepare Czech or

                                  19     Italian translations and publish the results at issue here.

                                  20           Loan-Out Bartz, Loan-Out MJ + KJ, and Writer Graeber are adequate class

                                  21     representatives — specifically for the LibGen & PiLiMi Pirated Books Class.

                                  22                    B.    ADEQUACY OF CLASS COUNSEL.
                                  23           The proposed co-lead law firms of Lieff Cabraser Heimann & Bernstein, LLP and

                                  24     Susman Godfrey LLP are experienced in class actions, including copyright (Br. Attorneys

                                  25     Geman & Nelson ¶¶ 30, 34, 46, 47). They represent related parties in co-pending litigation

                                  26     against other AI companies (id. ¶¶ 24–26). They do “not hesitate to go to trial” (id. ¶ 53; see

                                  27     id. ¶ 30). They will fulfill their duty to their class clients. See Ellis v. Costco Wholesale Corp.,

                                  28     657 F.3d 970, 985 (9th Cir. 2011).
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                                   1          Adequacy is met. And, if the commonality prong is also met — as incorporated into the

                                   2     predominance inquiry below — then all of Rule 23(a) is met.

                                   3          2.      CRITERIA UNDER RULE 23(b)(3).
                                   4          Under Rule 23(b)(3), the court must “find[ ] that the questions of law or fact common to

                                   5     class members predominate over any questions affecting only individual members, and that a

                                   6     class action is superior to other available methods for fairly and efficiently adjudicating the

                                   7     controversy.” The rule does not impose a threshold requirement that a class be ascertainable,

                                   8     although similar questions may arise to the extent implicated by other requirements. Briseno v.

                                   9     ConAgra Foods, Inc., 844 F.3d 1121, 1124 nn.3–4 (9th Cir. 2017).

                                  10                  A.      PREDOMINANCE.
                                  11          “First, we identify which questions are central to the plaintiffs’ claim. Second, we

                                  12     determine which of these questions are common to the class and which present individualized
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                                  13     issues. Third, we analyze whether the common questions predominate . . . .” DZ Rsrv. v. Meta

                                  14     Platforms, Inc., 96 F.4th 1223, 1233 (9th Cir. 2024).

                                  15          This is the classic case for certification. Anthropic downloaded millions of book files.

                                  16     This can and should be proven on a classwide basis. A list of works stolen in this downloading

                                  17     can be constructed using the methods set forth in the statement above. Instead of millions of

                                  18     separate lawsuits with millions of juries, we will have a single proceeding before a single jury,

                                  19     Napster style.

                                  20                          (i)     Copying Original Elements?
                                  21                                  (a)     LibGen?
                                  22          There is no question Anthropic torrented five million files from LibGen. Instead,

                                  23     Anthropic contends that infringement of plaintiffs’ books cannot be shown with classwide

                                  24     evidence because without individualized investigation no one can be sure what it even copied,

                                  25     whether they were the books they said they were, or someone else’s books, or something else

                                  26     like empty files. Plaintiffs propose relying on the catalog of bibliographic metadata listing the

                                  27     five million books — a catalog that Anthropic separately torrented and adopted to account for

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                                   1     what it copied — with titles to be confirmed as needed by common hashing methods and

                                   2     occasional manual review.

                                   3          Plaintiffs point specifically to a LibGen-provided book catalog. As Anthropic’s co-

                                   4     founder waited for the LibGen-sourced books to torrent, he separately downloaded and started

                                   5     exploring the LibGen-sourced book catalog purporting to describe those books (see Br.

                                   6     Exh. 19). Each row represented a book and each column a different type of metadata

                                   7     respecting it (¶ 83). The co-founder pointed out to his team two types of metadata in

                                   8     particular: “Identifier,” and “MD5.” As he restated them, “Identifier is the ISBN,” and “MD5

                                   9     corresponds to [each file’s] hash” (Br. Exh. 19 at -0389774). Anthropic’s expert later further

                                  10     explained what the MD5 hash means: “An md5 hash is . . . used in the LibGen database to

                                  11     uniquely identify books[, and] is generated by passing the raw binary contents of a file through

                                  12     MD5, a cryptographic hash function” (¶ 51 n.23 (emphasis omitted)). If the same book file
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                                  13     were passed through the same MD5 hash function, the very same hash value would result as

                                  14     that listed in the LibGen book catalog (see ¶¶ 51, 83). Other metadata on the same row as each

                                  15     book’s ISBN and MD5 hash were the book’s “Title,” “Author,” “Edition,” “Publisher,” and

                                  16     “Year,” and so on (Br. Exh. 19 at -0389774). This evidence could be offered to a jury to

                                  17     support the contention that Anthropic adopted and relied upon this list of the books it copied,

                                  18     and thereby admitted the list of books it copied.

                                  19          Even Anthropic’s own expert stated in his declaration that a list of errors found in

                                  20     LibGen over the span of several years has lengthened by about one post for every 400

                                  21     books — suggesting an error rate of less than one percent (compare ¶ 49, with ¶ 45). Such a

                                  22     per work list could come in via an expert at trial. Defendant would be free to prove up the

                                  23     exceptions and errors.

                                  24          It remains, however, plaintiffs’ burden to produce such a per work list in the form of a

                                  25     CD with a table having columns for title, author, publisher, copyright registration number,

                                  26     copyright-registered author (frequently the author), copyright-registered claimant (frequently

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                                   1       the author or author’s loan-out), and ISBN and/or ASIN.3 Class notice will be mailed to those

                                   2       listed (once is enough per recipient). The class will be limited to the books on the list for

                                   3       which there is complete information — meaning actual and beneficial owners of an exclusive

                                   4       copyright to reproduce any book on the list. The list will also be offered as evidence at trial.

                                   5       Plaintiffs will be allowed reasonable discovery and time to prepare the list. They must omit

                                   6       from the list any book for which the pirate site provided only an empty file. They must correct

                                   7       the title on any book copied from the pirate site for which the pirate catalog provided the

                                   8       wrong title. Although this order certifies a class, it does so on the condition that plaintiffs

                                   9       prepare and file a comprehensive, per work list and do so by NOON ON SEPTEMBER 1, 2025.

                                  10             Anthropic makes various objections. None persuade. What counts is not whether

                                  11       plaintiffs will prevail at trial, but whether they will be able to mount common evidence and

                                  12       methods in support of their claims. Anthropic raises challenges to these forms of proof that are
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                                  13       themselves best addressed through common evidence and methods.

                                  14             First, Anthropic submits the sworn declaration of one employee who swears that

                                  15       “Anthropic did not create this metadata” and that “Anthropic has never relied on this metadata

                                  16       to identify specific books in its LibGen Dataset” (Opp. Employee Tucker ¶ 16). The jury will

                                  17       hear that testimony and its cross-examination as common evidence as to every class member.

                                  18       The challenge is itself what could be raised in any one class member’s case, e.g., Range Rd.

                                  19       Music, Inc. v. E. Coast Foods, Inc., 668 F.3d 1148, 1154 (9th Cir. 2012), and here it can be

                                  20       done common to all at once.

                                  21             Second, Anthropic argues that sometimes its infringement was de minimis because,

                                  22       whatever its expectations, it in fact obtained partial books due to errors in torrenting. One

                                  23       might suppose this criticism would be readily substantiated and then at our trial prompt manual

                                  24       work-to-work comparison. Not so — or not on this record. After using computer-aided

                                  25       methods to rapidly identify thousands of purportedly partial books downloaded as part of

                                  26

                                  27   3
                                          The table may also include anything else plaintiffs deem important, including the hash values or
                                  28   set of hash values computed for the work according to the plaintiffs’ methods, which must
                                       withstand Daubert and defendant’s exacting scrutiny.
                                                                                       17
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                                   1     Books3 (¶¶ 87–88), and after trawling through 13,733 complaints collected over several years

                                   2     by internet users of the LibGen library (¶ 49), Anthropic’s expert still failed to provide a single

                                   3     example of a purportedly partial book in the LibGen-sourced books acquired by Anthropic.

                                   4     Moreover, stealing a page of a copyrighted work is still a violation.

                                   5          Relatedly, Anthropic submits that sometimes the pirate librarians’ extractions or its own

                                   6     torrenting got botched so it got no book at all (¶¶ 59–60). He points to ten examples in five

                                   7     million files that omitted any book (¶ 89). Then he elsewhere explains that whether a book

                                   8     available for torrenting was in fact torrented exactly as expected can be easily checked by

                                   9     comparing the canonical MD5 hash values available in the LibGen book catalog against the

                                  10     computed MD5 hash values of the files as in fact torrented by Anthropic (see ¶ 51 & n.23; cf.

                                  11     ¶ 72). This is a solvable problem that will not overwhelm the trial.

                                  12          Finally, Anthropic argues that some metadata is mismatched, such that instead of pirating
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                                  13     one book wholesale, it pirated another. To be clear, for each changeling so far discovered,

                                  14     Anthropic’s expert readily found its spitting image in an “Actual Content Match” (¶¶ 51–52).

                                  15     So the problem is not whether our jury will be subjected to detailed infringement analysis.

                                  16     These books, too, were in toto infringed, but apparently switched. Instead, the problem is

                                  17     whether rare changelings can be identified using common methods so that, among other things,

                                  18     the right copyright owner(s) can be compensated. Neither expert sized up how common this

                                  19     problem might be. When asked to estimate if all errors in the LibGen metadata amounted to

                                  20     more than one percent, Anthropic’s expert demurred. This failure to substantiate the rate of

                                  21     otherwise speculative errors — particularly for the party possessing all the information — cuts

                                  22     against defendant and not the putative class at this point. Lytle, 114 F.4th at 1030. Regardless,

                                  23     this issue, too, cries out for common methods to solve, and sooner than trial. There are several.

                                  24          For one thing, there are the corroborative sources of common metadata. Recall that

                                  25     Anthropic engineers chose not to torrent from the PiLiMi library those books already torrented

                                  26     from the LibGen library, and yet that the metadata for the books not torrented remains in the

                                  27     PiLiMi book catalog. And, recall that Anthropic’s chief executive officer and its head of

                                  28     training talked about purchasing books to replace the LibGen-sourced books, and populated a
                                                                                         18
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                                   1       database listing books to purchase. The first created a list of cross-checked metadata, the

                                   2       second a fresh list of metadata that may be coextensive. The three sets together may catch the

                                   3       changelings.

                                   4            For another thing, there is the common hashing method that plaintiffs’ Expert Ben Zhao

                                   5       proposed to spot and solve problems with the metadata — and to stand as its own, common

                                   6       method for identifying and indeed proving books were duplicated in their entirety or at least in

                                   7       generous verbatim chunks. E.g., Harper & Row, Publishers, Inc. v. Nation Enters., 471 U.S.

                                   8       539, 548–49 (1985) (“300 [to] 400” words of a fact-intensive book); Thomson Reuters Enter.

                                   9       Centre GmbH v. Ross Intell. Inc., 765 F. Supp. 3d 382, 391, 395–96 (D. Del. 2025) (Judge

                                  10       Stephanos Bibas) (paragraphs of headnotes), appeal docketed, No. 25-8018 (3d Cir. Apr. 14,

                                  11       2025). The specific implementation would compute multiple hashes across a class claimant’s

                                  12       work and compare the hashes both individually and in bunches against those from Anthropic’s
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                                  13       LibGen book files. Expert Zhao identified named plaintiffs’ own books in LibGen this way.4

                                  14            Anthropic’s Expert Mohit Iyyer identified no fundamental flaw in plaintiffs’ Expert

                                  15       Zhao’s specific implementation of the decades’-old class of hashing methods. And, Expert

                                  16       Iyyer identified no instance where the hashing method as implemented in fact identified a book

                                  17       that Anthropic lacked (false positive). Instead, the expert identified several adjustments all

                                  18       agree could be made during implementation to further improve results (for instance, improving

                                  19       the way text is normalized before being passed through the hash function). The expert’s other

                                  20       main point was that it was not clear how high the threshold should be set to identify a match,

                                  21       whether exact or fuzzy. That is a matter of debate the experts can have before the jury. And,

                                  22       where the jury cannot conclude whether there was virtual duplication via the method, they can

                                  23

                                  24   4
                                          Expert Zhao outlined an algorithm starting with a known book’s full text, splitting its sentences,
                                  25   dropping any sentences under ten words in length to avoid matching on common phrases, and
                                       hashing those longer sentences — then performing the same on an unknown book. The resulting
                                  26   long-sentence hashes from the two books are compared. If not a perfect match, additional
                                       programming compares in essence whether the known-book hashes that do appear among the
                                  27   unknown-book hashes do so in a bunch or else equally spread out across the length of the
                                       unknown book — helping to parse whether the unknown book might simply be a different book
                                  28   discussing and quoting the first. If any doubt remains, a human can review and confirm (see
                                       Br. Expert Zhao ¶¶ 53–67, Exh. D).
                                                                                        19
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                                   1     do so via direct comparison of the copies, with source copies for this comparison to be

                                   2     obtained by class counsel where required for this purpose. It is this order’s “predictive

                                   3     judgment” that this method will “bear fruit.” Lytle, 114 F.4th at 1031.

                                   4                                  (b)       PiLiMi?
                                   5          There also is no question Anthropic downloaded via torrenting two million files from

                                   6     PiLiMi. Again, Anthropic contends that infringement of plaintiffs’ books cannot be shown

                                   7     with classwide evidence or common methods. Plaintiffs propose relying on the catalog of

                                   8     bibliographic metadata unique to PiLiMi, which again Anthropic torrented, as well as on the

                                   9     common hashing method and occasional manual review.

                                  10          The above points apply equally well here, especially given the intertwined origins of the

                                  11     LibGen and PiLiMi pirate libraries. When cross-checking the works Anthropic did not want to

                                  12     torrent a second time, it did so against PiLiMi’s bibliographic catalog, not yet possessing
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                                  13     PiLiMi’s book files. It then used metadata from that catalog to make further dissections of

                                  14     what it did download. Anthropic’s Expert Iyyer has explained that the PiLiMi book catalog is

                                  15     substantially similar to the LibGen book catalog — except that it still contains the five million

                                  16     metadata entries for the books it decided not to copy. When asked to estimate whether the

                                  17     errors in this metadata amounted to more than one percent, Expert Iyyer declined. Regardless,

                                  18     all the challenges raised above, if raised again here, can be solved in similar fashion.

                                  19                                        *             *              *

                                  20          Because the quality of common evidence and common methods for identifying these two

                                  21     intertwined sources is similar — indeed, sometimes the same metadata and always the same

                                  22     methods will be common to both — there is no reason why those whose works were

                                  23     copyrighted in one, the other, or both cannot be efficiently considered in one trial.

                                  24     Furthermore, an analysis of the other issues below would bear the same result, including for

                                  25     damages, where the maximum statutory amount will be per work rather than per copy in this

                                  26     one infringement action.

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                                   1                                   (c)     Books3?
                                   2           Again, there is no question Anthropic downloaded 196,640 records in the Books3

                                   3     collection. Again, Anthropic makes the same arguments. This time they are better received.

                                   4           When Anthropic’s co-founder downloaded Books3, he did not download and explore a

                                   5     separate book catalog. The only metadata available for Books3 was the metadata intrinsic to

                                   6     the books’ filenames. At their best, the filenames strung together two or three chunks of

                                   7     metadata, like “Title – Author” (see ¶¶ 22–23). There is no evidence Anthropic relied on this

                                   8     metadata in the same way it relied on the other sets of metadata — no doubt because this

                                   9     metadata was and is less comprehensive and noticeably less accurate.

                                  10           True, some short filenames permitted identification. For example, to verify the accuracy

                                  11     of the first book in the set Anthropic downloaded, with filename “Lindbergh – A.

                                  12     Scott.Berg.epub.txt” (¶ 23), Anthropic’s expert “manually compared the opening paragraphs of
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                                  13     text [for that book] with the opening paragraphs of text in the Google Books preview of

                                  14     Lindbergh by A. Scott Berg and found that the texts appeared to be from the same book” (¶ 25;

                                  15     see ¶ 82). But, as Anthropic uncovered in its business, a title-author combination (absent

                                  16     ISBN) can point to multiple editions of the same book, each a different copyrighted work —

                                  17     such as multiple copyrighted versions of abridged or annotated classics. And, if there is only a

                                  18     title present, or only an author, the problem compounds.

                                  19           Not all Books3’s filenames contained even that much. Many were private mnemonics

                                  20     (“math”), not ready-to-parse metadata (“Mathematics, Substance and Surmise: Views on the

                                  21     Meaning and Ontology of Mathematics” by Ernest Davis and Philip J. Davis) (¶ 28). And,

                                  22     there were mismatched filenames. Anthropic’s expert did investigate ten such books and

                                  23     “[i]nferred correct title and author” (¶ 28). But plaintiffs’ expert proposed no convincing way

                                  24     to accelerate this process, partly because of the further problems described next.

                                  25           The book content was also spotty. For 1,284 of 196,640 files, there was no content

                                  26     present — resulting in no book in need of identification and thus solving itself (¶¶ 37–38). But

                                  27     similarly obvious errors (for 442 files) or other issues (for at least 3,312 files) resulted in

                                  28     partial content for another 3,750 files (see ¶¶ 40, 87), these files having the sparse metadata
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                                   1     particular to this set.

                                   2           In all these examples, the point is not merely the portion or number of issues, but the

                                   3     combination of apparently less reliable metadata and less reliable content. Plaintiffs have not

                                   4     made clear how they can solve the chicken-or-egg problem in this instance. Yes, there may yet

                                   5     be ways to speed up identification. Our record suggests Anthropic may have found one (see

                                   6     Reply Exh. 47 at -0389524). But plaintiffs have had plenty of time to do so, too — whether

                                   7     through expert methods or discovery of common evidence. They still have not. This delay

                                   8     prejudices the owners of the other copyrighted works in LibGen and PiLiMi, who already have

                                   9     comprehensive metadata, more complete book content, and a clear path to prosecute.

                                  10           Because this problem is so fundamental it moots the remaining inquiry, the certification

                                  11     of the Books3 Pirated Books Class is DENIED.

                                  12                                      (d)   Scanned Books?
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                                  13           The summary judgment order on fair use revealed that the path to recovery for scanning

                                  14     purchased print books and storing their digital replacements peters out. Same goes for further

                                  15     copying used for training LLMs. Although there is evidence of other copying for other uses,

                                  16     this evidence has not been presented with the requisite specificity and uniformity to warrant

                                  17     class certification of a scanned books class specifically — and meanwhile the same points

                                  18     about prejudicing all the other claimants while we wait apply here. Its certification is DENIED.

                                  19           This order will focus on the LibGen & PiLiMi Pirated Books Class from here forward.

                                  20                               (ii)   Of a Valid, Copyrighted Work?
                                  21           Next, plaintiffs must prove that what was duplicated was in fact a valid copyrighted

                                  22     work. This matching process can again be shown in the main through common evidence and

                                  23     methods.

                                  24           The class is limited to books for which an ISBN or ASIN exists. From the metadata

                                  25     described above, as well as through commercial metadata associated with ISBNs or ASINs,

                                  26     copyright registrations associated with these works can be identified. For every certificate of

                                  27     registration presented by named plaintiffs, for example, there is an associated ISBN (e.g., Br.

                                  28     Exh. 30). And, because the classes are limited to works registered within five years of first
                                                                                          22
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                                   1     publication, these certificates and the facts therein are presumed valid. 17 U.S.C. § 410(c).

                                   2           Anthropic speculates that some registrations might be hard to find or invalid (Opp. 11–

                                   3     12). It fails to substantiate either concern.

                                   4           Yes, some works share even title and author — as do multiple editions. But Anthropic’s

                                   5     own records indicate ISBNs and ASINs are typically unique to each book at the edition level,

                                   6     and so reliably can be linked to a copyright. And, not only do the likely choices of pirate

                                   7     librarians limit the scope of hard-to-find or out-of-print works copied in the first place, but the

                                   8     limitation to works by ISBN and ASIN — the one codified in 1970, the other in the 1990s —

                                   9     further limits the likelihood we will encounter copyright-registered works for which their

                                  10     corresponding registration, if any, cannot quickly be found. (Some self-published authors

                                  11     might use an identifier like ASIN but choose not to register at the Copyright Office at all.)

                                  12           And, yes, although the copyright registrations and facts therein are presumptively valid,
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                                  13     the Copyright Office does not verify every one. Anthropic is entitled to rebut the validity

                                  14     (Opp. 11 n.5). But any “inadvertent mistakes on registration certificates [would] not invalidate

                                  15     a copyright and thus [would] not bar infringement actions, unless the alleged infringer ha[d]

                                  16     relied to its detriment on the mistake.” Jules Jordan Video, 617 F.3d at 1156 (cleaned up).

                                  17     Nothing in our record hints at Anthropic having relied on anything in a copyright certificate.

                                  18     So, if an author’s loan-out were named instead of the author, or vice-versa, such a mistake

                                  19     would not stall our litigation.

                                  20                          (iii)   Causing Damages?
                                  21           Plaintiffs next must prove damages. They propose theories for proving statutory

                                  22     damages and actual damages. This, too, can be shown through common evidence and

                                  23     methods.

                                  24           The LibGen & PiLiMi Pirated Books Class is limited to works that were registered prior

                                  25     to infringement or within three months of first publication. (The date of effective registration

                                  26     and publication are stated on the certificates of registration and, for reasons above, presumed

                                  27     true.) Because class members’ works will meet this scope (by class definition), they will be

                                  28     entitled to elect statutory damages rather than actual damages. 17 U.S.C. §§ 412, 504(c)(1).
                                                                                          23
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                                   1     To the extent a class member believes her actual damages will surpass the statutory ones, she

                                   2     can intervene to prove it or opt out.

                                   3           In order to determine a statutory award, a jury must first make findings as to the

                                   4     infringer’s mental state (e.g., willfulness), then consider factors including actual damages and

                                   5     deterrence to set an award within a range of values allowed for that mental state — bottoming

                                   6     out at $200 per work for the reasonable user who believed his use fair. See id. § 504(c)(2);

                                   7     Desire, LLC v. Manna Textiles, Inc., 986 F.3d 1253, 1271–72 (9th Cir. 2021).

                                   8           Anthropic has introduced no evidence from which it might be supposed that its mental

                                   9     state differed as to its torrenting of any of these books. To the contrary, it has actively

                                  10     submitted that piracy is for an AI company the fair price to pay. Thus, common evidence can

                                  11     be taken as to the mental state involved in the copying that is the crux of plaintiffs’ contentions

                                  12     for these classes. Questions of deterrence would also be general in nature. And, in the
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                                  13     alternative, Anthropic has suggested that it already made recompense by paying the full price

                                  14     for each work when it later purchased print copies of the same titles. Assuming for the

                                  15     moment that this argument is admissible, it is hard to see how this would not also be evidence

                                  16     in common across the broad category of those for whom it is true.

                                  17           As for any embedded assessment of actual damages, common evidence and methods

                                  18     again suffice. Anthropic proffered in its motion for summary judgment on fair use that there

                                  19     was no world in which it would have been able to negotiate individual deals. Indeed, our

                                  20     entire record reflects as much — not only for Anthropic, but for every other AI company to

                                  21     have purchased books. Books were in every case purchased according to either a blanket

                                  22     price, a tiered price based on subject matter or the like, or else according to a mass-market

                                  23     price. Debating which of these options is appropriate, and the resulting price to be applied to

                                  24     each book here, is susceptible to common evidence and methods. Indeed, for many if not all

                                  25     the works, one piece of common evidence already exists as to what Anthropic would have

                                  26     paid: the price it later paid to purchase any of the same books (assuming admissible) (see

                                  27     Br. Exhs. 12, 22).

                                  28           The summary judgment order makes clear that Anthropic is liable for all pirated copies
                                                                                         24
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                                   1     regardless of whether they were used for training and regardless of whether another copy of the

                                   2     book was bought and scanned. To the extent a jury thinks these differences should affect the

                                   3     amount of statutory damages the points can be made on a categorical basis rather than an

                                   4     individual one.

                                   5                          (iv)    Plaintiffs Entitled to Recover?
                                   6          To recover, a claimant will have to submit a claim under oath stating that it is the owner

                                   7     of the copyright interest infringed and stating the title, author, publisher and ISBN and/or

                                   8     ASIN for the claimed work and further stating that the claimant serve notice to the publisher or

                                   9     any other person with an interest to permit the person to contest the claim. In the district

                                  10     judge’s experience and judgment, very few disputes over ownership will arise but if they do

                                  11     they can be resolved by the district judge on a summary judgment or by a jury at trial (or by

                                  12     excluding the work altogether from the class).
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                                  13          Anthropic asserts that until ownership is proven all putative class members lack standing,

                                  14     so its due process rights will be violated to the extent it is made to answer claims that a

                                  15     copyright was infringed. But named plaintiffs plainly have standing and the class will be

                                  16     defined in a way to bind all actual and beneficial owners of every work it stole, so this

                                  17     objection falls away.

                                  18          Anthropic also argues that managing ownership inquiries at scale will necessarily entail

                                  19     “Trial by Formula” (Supp. Definitions Opp. 2 (citing Wal-Mart Stores, 564 U.S. at 367)). A

                                  20     “Trial by Formula” classically involves sampling what happened to some class members,

                                  21     assuming the same happened to all, and not allowing rebuttal. That is not the plan. Plaintiffs

                                  22     shall present, among other things, a list of books with their authors, publishers, and

                                  23     ISBN/ASIN identifiers that Anthropic downloaded. This list will be prepared (or should be)

                                  24     with sufficient care to satisfy Daubert, no doubt relying in part on defendant’s own records.

                                  25     The class definition is limited to actual and beneficial owners of the copyrights involved. In

                                  26     the district judge’s judgment from experience (of fifty years), to repeat, there will be very few

                                  27     competing claimants for the same work. This is because authors and their publishers have

                                  28     ongoing business relationships and they will work out whatever differences (if any) they have
                                                                                          25
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                                   1     over how to divide the recovery.

                                   2          The core claim of the class here is infringement of the right to reproduce copies under

                                   3     Section 106(1) by way of episodes of mass downloading of timely registered copyrighted

                                   4     books. All the claimants can be made out through sworn declarations subject to challenge, in

                                   5     some cases.

                                   6                          (v)     Fair Use?
                                   7          To the extent fair use were to recur as an issue at trial, there is no reason to believe it

                                   8     would not be susceptible to treatment by common evidence and common methods.

                                   9                                        *            *               *

                                  10          At bottom, the major elements of this case concern a common course of conduct that can

                                  11     be established with common evidence and methods. The ownership inquiry is where Anthropic

                                  12     puts its focus — but its objections have been in the main addressed by plaintiffs’ concession
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                                  13     that they seek to enforce rights under Section 106(1) and that the focus of the LibGen &

                                  14     PiLiMi Pirated Books Class is on classic reproductive copying by piracy. “We do not permit a

                                  15     defendant to support its invocation of individualized issues with mere speculation.” Van, 61

                                  16     F.4th at 1068. And, Anthropic’s option to rebut otherwise completely sufficient evidence by

                                  17     itself “does not preclude the predominance of common questions.” Cf. Blackie v. Barrack, 524

                                  18     F.2d 891, 906 n.22 (1975) (early fraud-on-the-market case where defendant enjoyed right to

                                  19     rebut presumption but was unlikely to exercise it or to succeed in doing so). “What a district

                                  20     court may not do is to assume, arguendo, that problems will arise, and decline to certify the

                                  21     class on the basis of a mere potentiality that may or may not be realized.” United Steel

                                  22     Workers v. Conoco-Phillips Co., 593 F.3d 802, 810 (9th Cir. 2010).

                                  23          This is how Judge Marilyn Patel, one of the great jurists of this district court, assessed

                                  24     predominance in the Napster case, which is very close to our case:

                                  25                   [Although] ownership, registration, and actual damages ultimately
                                                       require[ ] a work-by-work inquiry, viewing these determinations as
                                  26                   purely “individual issues” ignores the fact that the claims of every
                                                       member of the class are uniformly premised upon the uploading or
                                  27                   downloading of a copyrighted work by Napster users. This shared
                                                       factual predicate in turn gives rise to a host of common legal issues
                                  28                   concerning Bertelsmann’s involvement in the operation of the
                                                                                         26
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                                   1                  Napster network. There can be no serious dispute that these issues
                                                      are sufficiently “significant” to warrant adjudication of the parties’
                                   2                  dispute on a representative rather than individual basis, nor is there
                                                      any question that considerations of judicial economy heavily favor
                                   3                  litigating these common issues once, as part of a single class
                                                      action, rather than rehashing the same questions of law and fact in
                                   4                  each of what could likely amount to thousands of individual
                                                      lawsuits.
                                   5

                                   6     In re Napster, Inc. Copyright Litig., No. C MDL-00-1369 MHP, 2005 WL 1287611, at *7

                                   7     (N.D. Cal. June 1, 2005) (citations omitted); see also Tyson Foods, Inc. v. Bouaphakeo, 577

                                   8     U.S. 442, 453 (2016).

                                   9          Predominance does not require that every issue be provable by a single method of proof.

                                  10     It does not rule out that one group may involve extra issues. It does require that the broad and

                                  11     differing nuances among the class be treatable by categorical proof as to each nuance. If the

                                  12     nuances are so varied and so many as to be unmanageable by a jury, then predominance is
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                                  13     lacking. But if the differences are manageable, then predominance is satisfied. So here.

                                  14          Common issues and evidence heavily predominate.

                                  15                  B.      SUPERIORITY.
                                  16          This inquiry “at [its] very core” assesses whether the claims could not be resolved but for

                                  17     a class action. Amchem Prods, Inc. v. Windsor, 521 U.S. 591, 617 (1997). Superiority is met

                                  18     where there is insufficient “incentive for any individual to bring a solo action prosecuting his

                                  19     or her rights” — and therefore insufficient opportunity for any defendant to conclusively

                                  20     vindicate its rights in turn — while by contrast a class action would “aggregat[e] the relatively

                                  21     paltry potential recoveries into something worth someone’s (usually an attorney’s) labor.”

                                  22     Ibid. (quoting Mace v. Van Ru Credit Corp., 109 F.3d 338, 344 (7th Cir. 1997)). We answer

                                  23     this question by considering the interests:

                                  24                  (1) of the judicial system, (2) of the potential class members, (3) of
                                                      the [named] plaintiff[s], (4) of the attorneys for the litigants, (5) of
                                  25                  the public at large and (6) of the defendant. The listing is not
                                                      necessarily in order of importance of the respective interests.
                                  26                  Superiority must also be looked at from the point of view [7] of the
                                                      issues [and legal regime itself].
                                  27

                                  28     Bateman, 623 F.3d at 713 (quotation omitted); see also Fed. R. Civ. P. 23(b)(3).
                                                                                         27
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                                   1          Here, if not brought as a class action, there will likely be no action at all. And, in any

                                   2     case, only a class action that concentrates plaintiffs’ interests and defendant’s resources into

                                   3     one confrontation will present the claims and defenses with a quality commensurate with the

                                   4     issues’ import. Named plaintiffs already have undertaken extensive discovery and litigation,

                                   5     and have expressed their preference for a class action. For good reason: Defendant is

                                   6     formidable. Few if any potential class members alone

                                   7                  could muster comparable resources [to those of defendant], nor is
                                                      there any guarantee [any alone] could find counsel willing to work
                                   8                  pro bono or on a contingency basis. Pooling these burdens among
                                                      a group of [plaintiffs] helps more [ ] bring claims. Proceeding as a
                                   9                  class action would also maximize efficiency, particularly in light of
                                                      the considerable discovery the parties have already undertaken.
                                  10

                                  11     See Doe v. Mindgeek USA Inc., 702 F. Supp. 3d 937, 952 (C.D. Cal. 2023) (Judge Cormac

                                  12     Carney). Meanwhile, defendant now sits under a cloud of copyright liability — needlessly,
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                                  13     assuming it is correct on the facts and on the law — and cannot likely dispel that cloud except

                                  14     by class action. Other stakeholders and the public at large stand to benefit from the clarity only

                                  15     a robustly litigated class action could provide — from authors who wish to know how copies

                                  16     of their works are being used in fact, to other AI companies that would prefer to pirate rather

                                  17     than pay for those works for whatever uses they might have, to people who might not engage

                                  18     in one activity or the other without more clarity.

                                  19          In opposition, Anthropic offers decisions finding a class action mechanism inappropriate

                                  20     where, for instance, harm was caused “in different individuals in different states by different

                                  21     doctors.” Zinser v. Accufix Rsch. Inst., Inc., 253 F.3d 1180, 1192 (9th Cir.) (quoting favorably

                                  22     Haley v. Medtronic, Inc., 169 F.R.D. 643, 654 (C.D. Cal. 1996) (Judge William Rea)), amd’d,

                                  23     273 F.3d 1266 (9th Cir. 2001). Here, different copyright owners had their copyrighted works

                                  24     downloaded from one of three pirate libraries by one company and kept forever.

                                  25          Anthropic next argues that “[t]he prospect of ruinous statutory damages — $150,000

                                  26     times [five] million books — only compounds the significant due process implications of

                                  27     certification here” (Opp. 23). But our court of appeals has squarely held that it is improper to

                                  28     consider whether or not “defendant’s potential liability [to the class was] ‘enormous and
                                                                                         28
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                                   1     completely out of proportion to any harm suffered by [the named] Plaintiff.’” Bateman, 623

                                   2     F.3d at 712–13 (quoting district court). “If the size of a defendant’s potential liability alone

                                   3     was a sufficient reason to deny class certification, [in other words], the very purpose of Rule

                                   4     23(b)(3) — ‘to allow integration of numerous small individual claims into a single powerful

                                   5     unit’ —would be substantially undermined.” Id. at 722 (quoting Blackie, 524 F.2d at 899, and

                                   6     further citing a long line of cases in accord). Here, there is a “legislative decision to authorize

                                   7     awards as high as [$150,000 per work], combined with multiple violations of the statute.”

                                   8     Ibid. (cleaned up). That decision is enforceable, and enforceable most efficiently here by class

                                   9     action.

                                  10                                       *             *               *

                                  11           There is no serious prospect that these claims can be addressed through individual

                                  12     actions. A denial of a motion to certify the class would amount to a concession that copyright
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                                  13     owners’ credible allegations of infringement will go unchecked by courts so long as a copyist

                                  14     allegedly violates the Copyright Act not a little but a whole lot. “[T]o do so would eliminate

                                  15     the class action deterrent for those who engage in complicated and imaginative rather than

                                  16     straightforward schemes” — or, in this instance, straightforward piracy but at massive scale.

                                  17     Cf. Blackie, 524 F.2d at 903 n.19 (re Rule 10b-5). It cannot be true that as the scope of

                                  18     copying grows, so does the impunity.

                                  19           Proceeding as a class is superior. The LibGen & PiLiMi Pirated Books Class thus meets

                                  20     Rule 23(b)(3). This order need not reach the alternative basis for certifying the class, under

                                  21     Rule 23(b)(2) (nor consider certifying issues under Rule 23(c)(4)). The class also meets Rule

                                  22     23(a), so may be certified.

                                  23          3.      NOTICE TO POTENTIAL CLASS MEMBERS.
                                  24           Under Rule 23(c)(2)(B), a court must direct to class members the best notice that is

                                  25     practicable under the circumstances. That proposed class notice shall provide all the usual

                                  26     language and the following:

                                  27           The notice shall state that any class member shall be bound by the outcome and judgment

                                  28     and shall not (unless it timely opts out) be allowed to relitigate any claim certified for class
                                                                                         29
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                                   1     treatment against Anthropic. Plaintiffs’ counsel shall provide notice to all authors, publishers,

                                   2     copyright-registered authors (if different), and copyright-registered claimants (if different)

                                   3     whose works were downloaded, and to all major, regional, and university presses. Notice shall

                                   4     be by first-class mail, by email, and by publication in at least one national trade journal, all

                                   5     costs of notice to be borne by plaintiffs (but recoverable as costs upon judgment). To assist, by

                                   6     NOON ON AUGUST 1, 2025, defendant shall provide the titles, authors, publishers, ISBNs

                                   7     and/or ASINs data to plaintiffs’ counsel to the extent such information about the two pirated

                                   8     sets is in its possession or that of its attorneys. This is a court-ordered interrogatory and must

                                   9     be honored.

                                  10           The class notice shall further state that upon any judgment favoring the class, only those

                                  11     who submit satisfactory claims shall recover. A satisfactory claim form shall identify the class

                                  12     claimant and the works claimed. It shall state under oath that the claimant owns the copyright
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                                  13     to make copies of the book or receives royalties in exchange for having granted to another the

                                  14     exclusive right to make copies of the book. And, it shall further state under oath that the

                                  15     claimant has served a copy of its claim form to anyone with whom it has entered an agreement

                                  16     respecting the copyright and to any other publisher, author, or person he suspects has any

                                  17     copyright interest of any type in the work (so that such persons can submit competing claims if

                                  18     they really think they own the right to make copies). No payment shall be made until 70 DAYS

                                  19     have passed after mailing of such notice to others. If a competing claim is in fact made, then

                                  20     the district judge or jury if needed will decide ownership.

                                  21           This will be a claims-made process and the benefit to the class will be determined, in

                                  22     part, by the number of works infringed for which a rightful owner is found, a factor which may

                                  23     influence the amount of any attorney’s fees award.

                                  24           By NOON ON AUGUST 15, 2025, both sides shall submit a single agreed-on proposed

                                  25     form of notice for the judge’s review as well as a plan for distribution of notice. Remember,

                                  26     notice will not be sent until the list of works involved (complete with title, author, publisher,

                                  27     copyright-registered author (if different), copyright-registered claimant (if different),

                                  28     copyright-registration number, and ISBN and/or ASIN) is submitted by plaintiffs’ counsel.
                                                                                         30
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                                   1                                              CONCLUSION

                                   2           The motion for class certification is GRANTED as to one of the alternative pirated books

                                   3     classes, and otherwise denied, as follows:

                                   4           1. The following LibGen & PiLiMi Pirated Books Class is CERTIFIED:

                                   5                  All beneficial or legal copyright owners of the exclusive right to
                                                      reproduce copies of any book in the versions of LibGen or PiLiMi
                                   6                  downloaded by Anthropic. “Book” refers to any work possessing an
                                                      ISBN or ASIN which was registered with the United States Copyright
                                   7                  Office within five years of the work’s publication and which was
                                                      registered with the United States Copyright Office before being
                                   8                  downloaded by Anthropic, or within three months of publication.
                                                      Excluded are the directors, officers and employees of Anthropic,
                                   9                  personnel of federal agencies, and district court personnel.
                                  10     Because this order grants certification to this class under Rule 23(b)(3), it declines to consider

                                  11     alternative bases for certification proposed by plaintiffs under Rule 23(b)(2) or Rule 23(c)(4).

                                  12     Defendant is compelled to produce related information described above by noon on August 1,
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                                  13     2025. This certification is contingent upon plaintiffs’ satisfactory filing of the list described

                                  14     above by noon on September 1, 2025.

                                  15          2. Certification of a Book3 Pirated Books Class is DENIED, as is certification of a

                                  16     Scanned Books Class.

                                  17          3. As Representative Plaintiffs for the LibGen & PiLiMI Pirated Books Class, the

                                  18     following person and entities are DESIGNATED: Andrea Bartz, Inc., Charles Graeber, and

                                  19     MJ + KJ Inc.

                                  20           4. As LibGen & PiLiMi Pirated Books Class Counsel, the following law firms are

                                  21     APPOINTED: Lieff Cabraser Heimann & Bernstein, LLP and Susman Godfrey LLP.

                                  22           5. Counsel from both sides shall submit a joint proposal for the form of class notice and

                                  23     for the dissemination of class notice to conform with the standards set forth above, by noon on

                                  24     August 15, 2025.

                                  25          IT IS SO ORDERED.

                                  26     Dated: July 17, 2025.

                                  27
                                                                                                   ILLIAM AL
                                  28                                                              UNITED STATES DISTRICT JUDGE
                                                                                         31
